AO 245B (Rev. l l/07) Judgment in a Criminal Ciisc

 

 

Sheet l
United States Distrlct Court
NORTHERN DISTRICT OF IOWA
UNITED STA'I`ES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.

NOEL PEREZ-PLASCENCIA Case Number: CR 08-4004-l-LRR
USM Number: 03743-029
Pamela A. Win_gert
Del`endant's Attomcy

THE DEFENDANT:

l pleaded guilty to count(s) 2 of the Superseding Indictment filed on September 25, 2008

l:] pleaded nolo contendere to count(s)
which was accepted by the court.

 

E| was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 U.S.C. §§ 922(g)(5) Possession of Firearm by an Illegal Alien 05/01/2007 2
924(a)(2)

The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant

to the Sentencing Reform Act of l984.
El The defendant has been found not guilty on count(s)

 

l Counts 1, 3 and 4 of the Sugerseding Indictment in CR 08-4004-] are dismissed on the motion of the United States.

IT IS O_RDERED that the defendant must notify the United States attorney for this district within 30 days of any chan e of name,
residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are lly pai . lf or ered to pay
restitution, the defendant must notify the court and United States attorney of material change in economic circumstances

March 23, 2009

Qtejf lmposiz'on ofJud:ment

signature oriudiciai omc¢r /

 

Linda R. Reade
Chief U. S. District Court Judge
Namc and Title of .ludicial Officcr

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AO 2458 (Rcv. ll/07) Judgmcnt in Criminal Casc
Shect 2 _ Imprisomnenl

 

.|udgmcnt _ Page 2 of __(3_

 

DEFENDANT: NOEL PEREZ-PLASCENCIA
CASE NUMBER: CR 08-4004-l-LRR

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term ot': 57 months on Count 2 of the Superseding Indictment.

l The court makes the following recommendations to the Bureau of Prisons:

It is recommended the defendant be designated to a Bureau of Prisons facility in close proximity to his family which
is commensurate with his security and custody classification needs.

l The defendant is remanded to the custody of the United States Marshal.

El The defendant shall surrender to the United States Marshal for this district:

l:l at L_.| a.m. |:| p.m. on

 

El as notified by the United States Marshal.

|Il The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
El before 2 p.m. on
El as notified by the United States Marshal.
El as notified by the Probation or Pretn`al Services OH`ice.

 

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UN|TED STATES MARSHAL
By

 

DEPUTY UN|TED STATES MARSHAL

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Shect 3 _ Supcrvised Relaisc

.ludgmcnt--Page 3 of § _ .
DEFENDANT: NOEL PEREZ-PLASCENCIA
CASE NUMBER: CR 08-4004-1-LRR

SUPERVISED RELEASE

§Jp(ci)n release from imprisonment, the defendant shall be on supervised release for a term of: 3 years on Count 2 of the Sugerseding
n ictment.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafier, as determined by the court.

l] The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
fixture substance abuse. (Check, if applicable.)

l The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
l 'I`he defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

ij The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

Cl The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this `udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

l) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) tl}e de{;endantth shall report to the probation officer and shall submit a truthful and complete written report within the first five days
o eac mon ;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, n'aining, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or ad_m_inister any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in _criminal activity and shall not associate with any person convicted
of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed in plain view of the probation officer;

l l) thf<f:_ defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
o icer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third p_arties of risks that may be occasioned by_ the defendant’s
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant’s compliance with such notification requirement

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Sheci JC _ Supcrvised Relaisc

Judgmcnt_l’agc _J_ of _6__=
DEFENDAN'I`: NOEL PEREZ-PLASCENCIA
CASE NUMBER: CR 08-4004-l-LRR

SPECIAL CONDITIONS OF SUPERVISION

The defendant must comply with the following special conditions as ordered by the Court and implemented by the U.S. Probation Of]ice:

1) If the defendant is removed or deported from the United States, he must not reenter unless he obtains prior
permission from the Director of Homeland Security.

2) The defendant must not knowingly associate with any member, prospect, or associate member of any gang
without the prior approval of the U.S. Probation Office. If the defendant is found to be in the company of
such individuals while wearing the clothing, colors, or insignia of a gang, the Court will presume that this
association was for the purpose of participating in gang activities.

Upon a finding of a violation of supervision, I understand the Court may: (l) revoke supervision; (2) extend the term of
supervision; and/or (3) modify the condition of supervision,

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.

 

Defendant ate

U.S. probation Uf`frcermesignated Witness ate

AO 2458 (Rev. l l/07) judgment in a Criminal Case
Shect 5 - Criminal Monetary Pcna|ties

 

 

.ludgment _ Pagc § ___ 0|` _L
DEFENDANT: NOEL PEREZ-PLASCENCIA
CASE NUMBER: CR 08-4004-1-LRR

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Restitution
$ 0

.'.’;'!
=
0

13st
TOTALS $ 100 $

c |

El The determination of restitution is deferred until . An Amended Judgmenr in a Criminal Case (AO 245C) will be entered
afier such determination

C] The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each pa ee shall receive an approximatelyUprogortioned ayment, unless specified otherwise in
the priority or_der or percentage payment column elow. However, pursuant to 18 .S. . § 3664€ , all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priorig or Percentage
TOTALS $ $

D Restitution amount ordered pursuant to plea agreement $

 

E] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day afier the date of the judgment, pursuant to 18 U.S.C. § 3612(f`). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Cl The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
E] the interest requirement is waived for the lI] fine [:| restitution.

Cl the interest requirement for the |:I fine L`_l restitution is modifiedas follows:

* Findings for the total amount of losses are required under (_Jha ters 109A, l 10, l 10A, and l 13A of Title 18, United States Code, for offenses
committed on or afier September 13, 1994, but before April 2 , 1996.

AO 2458 (Rev. l 1107) judgment in a Criminal Case
Sheet 6 - Cn'minal Monetary penalties

.ludgmcnt - Pagc 6 ol` __6_

 

DEFENDANT: NOEL PEREZ-PLASCENCIA
CASE NUMBER: CR 08-4004-1-LRR

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A l Lump sum payment of $ ]§m due immediately, balance due

El not later than , or
El inaccordance with Cl C, El D, El E, or lJ Fbclow; or

El Payment to begin immediately (may be combined with |Il C, E| D, or E| F below); or

C Cl Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D E| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E El Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment 'I`he court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F El Special instructions regarding the payment of criminal monetary penalties:

l.lnless the court has expressl ordered otherwise, if this jud$nent imposes imprisonment, payment of criminal monetary penalties is due durin
unprison_ment. All c ‘ mone penalties, except ose payments made through e Federal Bureau of Prisons’ lnmate Fmancia
Responsibility Program, are made to e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

ij Joint and Several

Defenth and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l 'I`he defendant shall pay the cost of prosecution.
The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in _the following order: (l? assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) commumty restitution, (7) pena ties, and (8) costs, including cost of prosecution and court costs.

